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sev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

v. ) Case: 1:22-mj-00104
Michael Pomeroy ) Assigned to: Judge Meriweather, Robin M.
) Assign Date: 5/11/2022
Description; COMPLAINT W/ ARREST WARRANT
a oo - )
~ Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Michael Pomeroy ;

who is accused of an offense or violation based on the following document filed with the court:

1 Indictment  Superseding Indictment Information © Superseding Information [Mf Complaint

© Probation Violation Petition Supervised Release Violation Petition O Violation Notice © Order of the Court

This offense is briefly described as follows:

18 U.S.C, § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds

18 U.S.C, § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building,

40 U.S.C. § 5104(e)(2)(G)- Parade, demonstrate, or picket in any of the Capitol Buildings.

2022.05.11 13:46:09

© ~ Aone -04'00'

~~ Issuing officer's signature

Date: 05/11/2022.

_ Robin M. Meriweather, U.S. Magistrate Judge |

Printed name and title

City and state: ____Washington,D.C.

Return

This warrant “A rece ive on i pe I ll - eo __, and the person was arrested on (date) —__ $ / 20 | hod

at (city and state) Harr: Wis

pac: 5/20 | Zi

er 5 signature

Sn al. oa ih ‘bygo.

Prifited name and title

